        Case 3:18-mj-00402-CSH Document 4-1 Filed 03/30/18 Page 1 of 3
                                          U.S. Department of Justice

                                                     United States Attorney
                                                     District of Connecticut


                                                      157 Church Street, 25th Floor   (203) 821-3700
                                                      New Haven, Connecticut 06510    wwwjustice.gov/usao/ct


                                                      March 29, 2018

Charter Communications Inc.
12405 Powerscourt Drive
St. Louis, MO 63131
Phone:314-394-9702
E-Mail: leroc@charter.com

        Re: Non-Disclosure of Subpoena

Dear Sir/Madam:

       Reference is made to the attached grand jury subpoena issued Match 29, 2018 and
returnable April4, 2018 before the federal grand jury sitting that date in New Haven,
Connecticut. The subpoena commands the production of records described in the attachment.

        This subpoena has been issued as part of an ongoing federal grand jury investigation into
the possible commission of a felony. The disclosure of the existence of this subpoena or its
contents will impede that investigation and, thereby, interfere with the enforcement of federal
law. Therefore, we have also obtained a non-disclosure order from the court, and request that you
do not disclose its existence or its contents to any person who is not involved in your internal
document production process. If at some point you believe that it is necessary to disclose the
existence or the contents of the subpoena, I request that you notify me of your intent to do so
prior to the time of the disclosure, to ensure compliance with the court's order.

        We also request that the custodian of records at your firm complete the attached
certificate of authenticity for any business records that are produced pursuant to this subpoena, to
the extent that such records meet the conditions set forth in the certificate that is, (1) that the
records were made at or near the time of the occurrence of the matters set forth in the records, by
a person with knowledge of those matters or from information transmitted by such a person, and
(2) that these records are made, and are kept, as a regular practice in the ordinary course of
business. Completion of this certificate will significantly reduce the chances that you will be
called as a witness at any future trial at which these documents might be offered as evidence.

       Please feel free to contact me if you have any questions or concerns.

                                              Very truly yours,

                                              JOHN H. DURHAM
                                              UNITED STATES ATTORNEY


                                              HENRY K. KOPEL
                                              ASSISTANT UNITED STATES ATTORNEY

Enclosures
                 Case 3:18-mj-00402-CSH Document 4-1 Filed 03/30/18 Page 2 of 3



AO ll 0 (Rev. 06/09) Snbpl>CIUI to Testify Before a Grand Jury


                                        UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District of Connecticut

                                         SUBPOENA TO TESTIFY BEFORE A GRAND JURY


 To: Charter Communications Inc. , 12405 Powerscourt Drive, St. Louis, MO 63131
     Phone: 314-394-9702 E-Mail: leroc@charter.com


         YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
below to testify before the court's grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: Robert N. Giaimo Federal Building                                               Date and Time:
       150 Court Street, Room 125
       New Haven, CT 06510                                                                 04/04/2018 9:30am




          You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):


Please see attached .

In lieu of appearing before the grand jury, you may comply with this subpoena by produ cing all relevant records no
later than the grand jury appearance date to TFO Thomas Hine, Federal Bureau of lnvestigatioiOJ '(I+Bl~, 600 Sta:te Street,
New Haven, CT 06511 . If you have any questions about this subpoena, please contact TFb Hine at (860) 420-63Q.O, or
thomas.hine@uconn.edu.




Date:          03/29/2018                                                     CLERK OF COURT



                                                                                            Signature n[Cim·k 01• Deputy Cl$rl<



The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
requests this subpoena, are:
 Henry K. Kopel                                                N-18-1-52 (Control #82)
 Assistant United States Attorney
 157 Church Street, 25th Floor
  New Haven, Connecticut 06510
 (203) 821-3700
      Case 3:18-mj-00402-CSH Document 4-1 Filed 03/30/18 Page 3 of 3




ATTACHMENT TO SUBPOENA TO:
Charter Communications Inc.
12405 Powerscourt Drive
St. Louis, MO 63131
Phone: : 314-394-9702
E-Mail: leroc@charter.com


Any and all of the following customer/subscriber information and records, for the
customer/subscriber associated with the IP address 75.135.98.91, as of 01-28-2018 at 15:14:20
hours (UTC):

)>   All subscriber information, including name(s), address(es), and billing address(es) of the
     subscriber(s ).
)>   All billing records.


In lieu of appearing before the grand jury, you may comply with this subpoena by producing
all relevant records no later than the Grand Jury appearance date, to FBI Task Force Officer
("TFO") Thomas Hine. Please send the records to TFO Hine, preferably via the E-mail
address listed below:

        TFO Thomas Hine
        Federal Bureau of Investigation
        Joint Terrorism Task Force
        600 State Street
        New Haven, CT 06511-6505
        860-420-6350 - cell phone
        thomas.hine@uconn.edu- E-mail
